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MR. DAVIS: Yeah, it makes no difference. The cases

the Second Circuit ruled upon were wholly owned -- the Beck v.

Feldman case was wholly owned. The -- I'm just looking through

my papers here for the other case I wanted to talk about.

Tower Automotive, which is from this Court. The -- where's the

name of the Court? Southern District of New York, Tower
Automotive, also in our brief, wholly owned. Both wholly
owned. Both cases, the Court said --

THE COURT: Was that Judge Gropper? Who was that?

MR. DAVIS: One moment. Yes, Judge Gropper.

THE COURT: Okay.

MR. DAVIS: Both courts -- both the Beck v. Feldman
Court and the Tower Court said that, as long as the subsidiary
is not a sham -- and that's the standard -- then jurisdiction
of this Court does not reach a dispute that the subsidiary may
have.

THE COURT: Okay. And you just said that y'all --
okay. Go ahead. Yes.

MR. OSWALD: Your Honor, using your example, this is
not a shareholder interest in an entity that's going to be
adversely or otherwise impacted by that entity's business
dealings, so the Apple/Samsung disputes. These are claims
emanating out of the insurance company underwriting the
hospitals' claims.

The obligation of QIL, the collateral -- the entity to

 
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put up the collateral, they're all intertwined. This has --
OIL -- it's not OIL's operations impacting a shareholder. It's
the -- what are the claims, ultimately, of AIG, what are the
allowed, valid claims of AIG against these debtors. And once
that. is determined, whether by agreement or by the Court or by
arbitration, what portion of that may AIG get paid from the
collateral? As opposed to getting paid in bankruptcy dollars
under the Chapter 11 plan.

THE COURT: Do you have any case that distinguishes
that scenario that was just put out there on Apple/Samsung?

MR. OSWALD: I don't, off the top of my head, but I
was running with your example, Your Honor.

THE COURT: I -- well, his example.

MR. OSWALD: Oh, okay.

THE COURT: I just grabbed it. Okay. And you --

MR. OSWALD: My sole point is the direct nexus of the
proofs of claim --

THE COURT: But what I'm hearing --

MR. OSWALD: -- filed in this -- in the --
THE COURT: -- from you is that this is augmenting the
estate if -- if it stays here, possibly.

MR. OSWALD: Sure. The debtors believe it ultimately
will. I appreciate that, now that we've gotten a statement of
the claim, pursuant to Your Honor's -- the so-ordered

stipulation; that, pursuant to that statement, they assert the

 
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claim now exceeds the collateral. But ultimately, when the
claims are determined, we certainly believe the estate will be
augmented, and that collateral will be released.

MR. DAVIS: If I may, Your Honor.

MR. OSWALD: But that's not for today.

THE COURT: I know that's not for today. I'm
thinking.

MR. OSWALD: We don't -- we don't know what the claim
is.

MR. DAVIS: I would --

MR. OSWALD: On this little piece --

THE COURT: Mr. Davis, let me ask you a question. You
mentioned a moment ago that you are in some arbitration.

MR. DAVIS: Yes.

THE COURT: So if this Court agrees with you and
decides that the Court lacks jurisdiction over the QIL claims,
so where do you go to resolve that dispute?

MR. DAVIS: Well, like any matter in commerce, the
parties first would discuss it; and, if we don't agree, either
party can commence an arbitration proceeding to resolve it. We
already have an arbitration proceeding, and it's our view that
the practical approach at this point would be to assert this
dispute, if it turns out to be a dispute, as a counterclaim in
the existing arbitration, so as to not delay getting started

and getting going. And that's what we contemplate doing, but

 
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THE COURT: In that -- go ahead. In that merger
agreement --

MR. OSWALD: TI --

THE COURT: Go ahead, you want to mention --

MR. OSWALD: JI was just going to comment again on the
arbitration, so we're clear. The arbitration relates to the
handling of claims that have already been --

THE COURT: Okay.

MR. OSWALD: -- dealt with and issues that the debtors
have with the handling of those claims, so nobody has taken the
issue of these proofs of claim to arbitration.

And I took the liberty, Your Honor, if there were any
-- on the arbitration, I have counsel for the debtors handling
the arbitration is here with us in court. But I understand
that hasn't really progressed that much since last we were
here,

THE COURT: Okay. And I have -- I still have some
more questions. I'm trying to understand all this.

I think, in the papers, that Saint Vincents Hospital
and the Saint Vincents losses were -- are covered under the --
you disagree that they are covered under the payment agreement.
And is the merger silent with respect to all obligations of
Saint Vincents Hospital that were assumed by Saint Vincents

Catholic Medical Center?

 
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MR. DAVIS: Well, a merger can't be silent because
it's a matter of state law when you merge two corporations.
All the obligations of each become obligations of the other.
And all contracts of one become contracts of the other.

THE COURT: We -- okay. I think we need to see that
merger agreement. But you're -- you cite New York Business
Corporation Section 9306(b) (3) for the proposition that the
surviving or consolidated corporation shall assume and be
liable for all the liabilities and obligations, penalties for
the other. And you say this applies?

MR. DAVIS: Oh, yes.

THE COURT: Debtors?

MR. OSWALD: Well, I -- we're a not-for-profit, so I
doen't think the for-profit provision provides [sic]. But
again, just to be clear, I don't disagree with the general
proposition that, on a merger, liabilities -- the assets and
the liabilities go together. That doesn't necessarily mean
that the collateral goes with it. And that, again, comes back
to the issue of whether or not, for these four policies, they
can look to the collateral.

MR. DAVIS: And as to that, there is --

MR. OSWALD: Because they're not -- because they're
not a party to that payment agreement or the -- or the cross-
collateralization agreement.

MR. DAVIS: I could address that, if you want to hear

 
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why that's an inaccurate statement.

THE COURT: Okay.

MR. DAVIS: The payment agreement that -- there are
two payment agreements, in fact, that are attached to our
papers. There's the 1998 payment agreement with Catholic
Medical Center, pre-merger, which has been subject to a series
of annual schedules, which become part of the agreement. And
the most recently signed annual schedule, the one that was
signed effective 2009 -- and I can put this on the ELMO, if it
would help, Your Honor.

THE COURT: Please, please. That makes it easier for
me.

MR. DAVIS: Uh-huh.

(Participants confer.)

THE COURT: No, he's putting it on the ELMO, so we all
see it at the same time and we all look at it tegether.

MR. DAVIS: This is a schedule --

THE COURT: It should be on your monitor.

MR. DAVIS: It's in my papers as Exhibit V. It was
executed in July -- September of 2009. And it provides that
the $38 million of collateral provided by OIL at that time
would be available under the payment agreement.

(Participants confer.)
THE COURT: No, we can make it better.

(Participants confer.)

 
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THE COURT: Is it coming up? Y'all see it?
UNIDENTIFIED: Uh-huh.
(Participants confer.)
THE COURT: Okay. There, we can read it clearly.
That's good.
MR. DAVIS: Getting back to the -- just it's signed in

2009, where you see where I'm pointing.

UNIDENTIFIED: Uh-huh.

MR. DAVIS: And then it provides for the $38 million
ef OIL collateral to be available for whatever this covers.
And it is between Saint Vincents Catholic Medical Center, which
is the merged entity, on behalf of itself, and "all your
subsidiaries or affiliates," which would include QIL, I
believe, "except those listed below," and there are none listed
below. So here, you have a parent agreeing and buying all of -
- all of its entities, including OIL. And this is the 2009
agreement.

It picks up, attaches to, and becomes part of this
1998 payment agreement. The 1998 payment agreement says who
has agreed to this agreement, and it's the entities named as
"client" in the schedule. And we just looked at that, and
that's everybody. And then it defines "schedule" on Page 4,
and it says:

"Additional schedules or amendments may be attached to

this agreement from time to time."

 
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Which is the most recent schedules, what I just showed

Your Honor.

And then, if you turn to "default."

"Failure by you" --

Which is any member of their family of companies.

"-- or any of your subsidiaries or affiliates to

perform within five days after due date any

obligation, you or any of your subsidiaries or

affiliates have under this agreement or any other

agreement with us."

Now at the time the schedule was signed, when the

schedule was signed, the "you" included Saint Vincents

Hospital.

50 this language picks up Saint Vincents Hospital --

THE COURT: And that was after the first bankruptcy,

which was

2005.

MR. DAVIS: Yes.

THE COURT: This was 2009?

MR. DAVIS: This -- this was -- this was signed -- the

schedule which adopts this was signed in 2009.

Moving to the next page:

"In the event of default, we may satisfy your

obligations in whole or in part by the collateral" --

And then it says, highlighted in yellow:

"-- jn order to satisfy any" -- and I emphasize the

word "any" -- "of your obligations."

 
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Saint Vincents Hospital's obligations are obligations
that fall within the two words -- three words "any of your" --
four words -- "any of your obligations." That's the
contractual basis for our right to reach the collateral.

Similarly, this is the -- I'm now showing you the
Saint Vincents Hospital payment agreement, which was entered
into -- this is attached to our reply papers. It isn't
attached to our moving papers. And the Saint Vincents Hospital
and Medical Center is the party to this agreement. And in this
agreement, it provides that:

"We can draw upon, liquidate, or take ownership of

collateral deposited with us to secure your payments

under this agreement, and using such collateral to
satisfy or recoup any and all obligations to us."

I'm sorry. I may have misread that.

(Participants confer.)

MR. DAVIS: Oh, yeah, let me read that again, because
I misread it.

THE COURT: Okay.

MR. DAVIS: We're permitted to:

"-— draw upon, liquidate" -- "liquidating or take

ownership of collateral deposited with us to secure

your” =<-

THE COURT: Read it correctly. You didn't read it

correctly.

 
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MR. DAVIS: Thank you. Draw -- we're permitting --
THE COURT: "Drawing upon."
MR. DAVIS: We're -- yes, I -- again, I understand.

"-- drawing upon, liquidating, or taking ownership of

collateral deposited with us to secure your payments"

THE COURT: Did you just say that S -- Saint Vincents
Hospital is an affiliate of Catholic Medical Center? Did I
just hear you say that?

MR. DAVIS: What they are is they are the same entity
now, by merger. They are the same entity. They are not
affiliates; they are the same. They merged. They --

THE COURT: What about pre-merger?

MR. DAVIS: Pre-merger, they were -- I don't know if
they had any affiliation at all pre-merger. I don't know. But
today, they are the same entity.

THE COURT: Okay. That's enough. Okay.

MR. DAVIS: I'm just -- if I may finish where I wanted
to go with this, was, under this -- in the second line:

"== under this or any other agreement" -- "involving

collateral under this or any other agreement."

S0 with these three agreements, we have a very
substantial, albeit disputed by the other side, claim to us
the OIL collateral for the Saint Vineents Hospital obligation.

And that dispute, if not resolved by agreement, will require

 
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that it be resolved in a proceeding. And as I can also
address, the only proper proceeding is arbitration,
particularly since it doesn't even involve property of the
estate.

THE COURT: Saint Vincents?

MS. SHEIKH: Your Honer, Lara Sheikh for the
liquidating trust.

We're finding AIG's arguments here a little bit
frustrating because we did set forth in our position statement
that we provided to them on July 25th, as well as in our
response to their motion, a -- our plain reading of the payment
agreement and why we believe -- why the liquidating trust
believes that the SVH losses do not arise under that agreement.
And AIG did not address in their motion or their reply the
statements that counsel just made and their interpretation of
these agreements.

But I can explain the liquidating trust's position of
why the SVH losses could not arise under the payment agreement,
which we did set forth in our paper -- in our papers.

I will nete that the payment -- the second payment
agreement that AIG referenced, which is Exhibit H to their
reply, is -- is not related in any way to the 1998 payment
agreement, for which CM -- Cabrini Medical Centers, and later
Saint Vincents Catholic Medical Centers of New York provided

collateral in the form of a letter of credit issued by a non-

 
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debtor. So that 1997 payment agreement between Saint Vincents
Hospital, the pre-merger entity, and AIG is not in any way
related to the QIL collateral. I think that's an important
clarification.

So the references to "collateral provided" under an
agreement entered into --

THE COURT: Would you put that on the ELMO? I"m
trying to follow you --

MS. SHEIKH: Sure.

THE COURT: -- and I'm looking at what you gave, but
just put it on the ELMO for me.

MS. SHEIKH: Yeah.

THE COURT: You're going to have to put it facing out.

MS. SHEIKH: Oh, sorry.

THE COURT: There. Just because I'm --

MS. SHEIKH: Or this way.

THE COURT: There you go. Thank you.

MS. SHEIKH: Okay. So this is an agreement between
Saint Vincents Hospital, which has been merged into the debtor
entity Saint Vincents Catholic Medical Centers of New York. So
it's an agreement entered into --

THE COURT: But this is an agreement between Saint
Vincents Hospital and Medical Centers of New York. So that's
in -- CMC?

MS. SHEIKH: That's --

 
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THE COURT: Saint Vincents Hospital?

MS. SHEIKH: We refer to them as "SVH" in our papers.
This is the entity that entered into the policies that Your
Honor was referencing earlier that give rise to what we've
defined as the "SVH losses." Soe this is the -- a payment
aqreement between Saint Vincents Hospital, which the full name
of that entity is Saint Vincents Hospital and Medical Center of
New York, and AIG. And it's -- it has no relation to the 1998
payment agreement between Catholic Medical Centers of New York
and AIG.

THE COURT: So AIG is saying the 1998 payment
controls, and you're saying this controls?

MS. SHETRKH: Yes.

THE COURT: Did I miss semething?

MS. SHEIKH: And it's -- I'm not -- I'm actually not
certain that this is the complete agreement or the current --
the last agreement between Saint Vincents Hospital and AG --
and AIG.

THE COURT: On those four matters. We're only
thinking about four matters here, those four contracts.

MR. DAVIS: Four policy years.

MS. SHEIKH: That's correct.

MR. DAVIS: Four policy years might be the way --

THE COURT: Four policy years. Okay.

MS. SHEIKH: Yeah. If AIG's counsel is representing

 
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that those policy years -- let me rephrase that.

THE COURT: Okay.

MS. SHEIKH: My understanding is that AIG has attached
this payment agreement which is the payment agreement that
applies to those four policies between Saint Vincents Hospital
and AIG.

THE COURT: Okay. And my question to you -- are you
Finished with that statement?

MS. SHEIKH: Yes,

THE COURT: Okay. Why doesn't it apply today to cover
the Saint Vincents Hospital losses for those years, the 1998
agreement?

MS. SHEIKH: I -~ I don't think it's relevant to the
issue before the Court today because this payment. agreement --

THE COURT: Oh, I'm sorry.

MS. SHETKH: -- is not secured by the --

THE COURT: I asked the question --

MS. SHEIKH: -- QTL collateral.

THE COURT: I think I asked the question wrong. Let
me look at my chart. TI have my chart, too.

Before 2000, it was only Catholic Medical Centers that
had the agreement with OIL, not Saint Vincents Hospital.

MR. DAVIS: Yes, Your Honor.

MS. SHEIKH: That's correct. And there -- Saint

Vincents Hospital had its own agreement with AIG, which I

 
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understand is Exhibit H to AIG's motion. And that agreement
provides that Saint Vincents Hospital will provide collateral
to AIG to secure the obligations on -- that Saint Vincents
Hospital has to AIG. But that collateral is not the OIL
collateral. And AIG has not, I don't believe, addressed in its
papers, you know, what collateral was provided by Saint
Vincents Hospital to secure those obligations. We are -- I'm
not aware of what collateral was provided to secure those
ebligations. But as we set forth in our papers, clearly the
QIL collateral could not have secured those obligations
because, at that time, Saint Vincents Hospital and Catholic
Medical Centers of --

THE COURT: So is there a separate pool, collateral
pool, for the Saint Vincents Hospital losses?

MR. DAVIS: There was. It's been exhausted. Your
Honor, I'd like to respond to some of those points.

THE COURT: Stop right there. I want to go back to
that.

MR. DAVIS: Uh-huh.

THE COURT: Explain that a little more clearly to me,
right there.

MR. DAVIS: We were provided with cash collateral for
the Saint Vincents Hospital losses during the 1990s. That
money has been exhausted. The losses have continued, and the

obligations have now come to $2 million more than the

 
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collateral previously provided.

During the -- during the 2000s, during the Twenty-
First Century, we had -- we were dealing with the Saint
Vincents Hospital as a collective entity because they merged.
And when we signed the schedules -- and there were annual
schedules, year after year after year, entered into after the
merger. And in each one of those -- they resemble the one I
put up on the sereen -- and the one I put up on the screen
showed that the $38 million of QIL collateral was provided in
accordance with the 1998 payment agreement.

The 1998 payment agreement says that the collateral
may be used for, quote, "any of your obligations." And the
word "obligations" is lowercase, undefined, and the word "any"
is lowercase and undefined. In plain English, the 1998
agreement, as augmented by the 2009 schedule, provided that the
OIL letter of credit is available for "any of your
obligations." And Saint Vincents Hospital and Saint -- and
Catholic Medical Center, having merged, become one entity. And
the word "your" applies to them equally, because they are one
entity.

And when they signed off on that language in 2009,
they clearly were one entity. They also signed off on that
language in 2008. They signed off on that lanquage in 2007,
and you get the point. Every year.

THE COURT: Okay. Give me your last name again.

 

 
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MS. SHEIKH: Sheikh.

THE COURT: Ms. Sheikh, but in your response, you
focused on the "you" in the payment, and you said the "you" was
defined. Mr. Davis said that the affiliates were not defined,
but you say it was defined, as Catholic Medical Center, its
predecessor successors.

MR. DAVIS: And Your Honor --

MS. SHEIKH: It is defined in the payment agreement.
The payment defines --- the payment agreement defines "you,"
and we quote this language in our papers, in Paragraph 24.

THE COURT: He said that was in lowercase. But where
-- I know -- I see your -- I've got your quotes here. I just
don't see where they come from,

MS. SHEIKH: Well, I think "obligation" is in
lowerease, but "you" is -- and "elient" are not in lowercase.
Those are uppercase and refer to the client on the title page,
which is Catholic Medical Centers

"-- its predecessors and successor organizations, and

each of its subsidiary, affiliated, or associated

organizations that are included as named insureds
under any of the policies, or their predecessors."

And "predecessors" is referring to predecessor
policies.

So it -- Saint Vincents Hospital is neither a

predecessor, nor a suceessor organization to CMC. And the

 
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policies of the named insureds under the payment agreement do

not include the S -- the Saint Vineents Hospital policies. So

THE COURT: They -- so --

MS. SHEIKH: I actually do not follow AIG's argument
to that --

THE COURT: Mr. Davis.

MS. SHEIKH: Mr. Davis' argument that -- that Saint
Vincents Hospital is obligated under the payment agreement.

THE COURT: So you're saying that the merger by Saint
Vincents Catholic Medical Center did not assume the Saint
Vincents Hospital obligations?

MS. SHETKH: Ne.

THE COURT: So when --

MS. SHEIKH: The merger -- by the merger, Saint
Vincents Catholic Medical Centers of New York assumed Saint
Vincents Hospital's obligations. But Saint Vincents Hospital
has no obligation under the payment agreement to be assumed by
Saint Vineents Catholic Medical Cénter of New York.

Saint Vincents Catholic Medical Center -- Saint
Vineents Catholic Medical Center of New York may have assumed
Saint Vincents Hospital's obligations under the 1997 payment
agreement that's attached as Exhibit H to AIG's papers. But
there is no -- I don't believe that AIG -- Mr. Davis argues

anywhere in the papers that Saint Vincents Hospital is an --

 

 
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has an obligation under the 1998 payment agreement. He's only
arguing that, by virtue of the merger or the incorporation by
merger of Saint Vincents Hospital and Saint Vincents Catholic
Medical Center of New York, that Saint Vincents Hospital is
obligated under the 1998 agreement. But I don't believe that
is sufficient to establish an obligation under the 1998 payment
agreement.

MR. DAVIS: If IT may?

THE COURT: Sure,

MR. DAVIS: The 1998 agreement refers to the parties
abligated are the parties named in the schedule. The schedules
are defined as those schedules which are renewed from time to
time. The 2009 iteration of the schedule was the combined,
merged entity. And the combined, merged entity became subject
to the clause in the agreement that says, upon default, we may
apply the collateral, which is identified in the 2009 schedule
to be the OIL LOC, to “any of your obligations." There's no
way they can contend that, in 2009, when they signed that
schedule, that Saint Vincents Hospital's obligations were not
obligations of the merged entity. And the merged entity signed
the 2009 schedule.

THE COURT: Okay. Ten minutes, each one of you. And
here are your two issues, and I want to hear ten minutes on
them:

AIG requests a ruling that this Court lacks

 
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jurisdiction over the issues of whether the amount sought by
AIG are secured or unsecured by the two letters of credit
provided by OIL. And AIG requests this Court to order
arbitration of the QIL collateral issues. Give me ten minutes.
Those are the basic issues. Let's hear it. Mr. Davis, it's
your motion.

MR. DAVIS: May I use the ELMO?

THE COURT: Absolutely. And I'm not ruling on the
croess-motions at this time, I just want to hear from you.
You've got ten minutes to figure out what you're going to say.

MR. DAVIS: I know what I'm going to say.

(Participants confer.)

THE COURT: No, you don't get ten minutes, Mr. Davis;
they get ten minutes,

MR. DAVIS: Oh, they go first.

THE COURT: No, you go first. It's your motion.

MR. DAVIS: Right. I just want to clear the field.

THE COURT: Okay.

MR. DAVIS: I came over here because of the ELMO.

THE COURT: Right. If you'll just pull that
microphone a little. Not that microphone, the microphone
that's on counsel table.

MR. DAVIS: Uh-huh.

THE COURT: If you'll just pull it a little bit closer

to you, I think we can all hear it.

 
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MR. DAVIS: Okay.

THE COURT: And clearly state the exhibits you rely
on.

MR. DAVIS: Okay. As to jurisdiction, fundamentally,
the jurisdiction issue turns on, number one, Section 109 of the
Code. No dispute, QIL is an insurance company; no dispute, it
ean't be a debtor; no dispute, it is not a debtor. So for that
reason alone, the Court lacks jurisdiction over the OIL letter
of credit or any property of QIL.

And I would like to take a moment and point out that
109 is based on a sound public policy, an important doctrine.
Insurance companies are different. Fundamentally, they're
different from commercial organizations because they take on
long-term, long-tail obligations. And the liquidation statutes
and the liquidation laws and rules that govern insurance
companies, in the Cayman Islands or in any state of the United
States, are designed to recognize and deal with the fact that
insurance companies take on long-term obligations. And there's
a whole different approach to how you liquidate an insurance
company and how you liquidate a commercial organization because
ef the obligation of the insurance company to take on long-tail
ebligations. That is why 109 was written into the law, and I
think it's a very sound and important principle. Nonetheless,
regardless of its reason, it is the law.

second, OIL is merely a subsidiary. And for instance,

 
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in Tower Automotive, Judge Gropper wrote:
"Tn Feldman v. Beck, the Second Circuit held that
bankruptey jurisdiction did not extend so far as to
permit a referee to restrain state court proceedings
against a wholly owned subsidiary of the debtor, even
though the value of the debtor's stock holdings in the
subsidiary would be directly impacted by the results
of the state litigation."
And then it says, highlighted again:
"The only exception to this principle, according to

Beck" -- which is the Second Circuit -- "would be

 

proof" -- proof, not just an allegation -- "that the

subsidiary was a mere sham or conduit, rather than a

viable entity."

OTL, by the way -- and we can prove it if we had an
evidentiary hearing, has its own certified financial
statements, it has its own independent existence, it has its
own regulators, it complies with Cayman law. And there's no
claim, and there could be no claim that OIL is a sham. Soa
that's the second reason there's no jurisdiction.

The third reason there's no jurisdiction is the letter
of credit. Here, I would point to this decision in the Enron
case, written by District Court Judge McMahon. And in this
case, a creditor with a claim against one of the Enron entities

-- that Enron entity is referred to as "EMI" -- held a letter

 
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L of credit. They wanted to bring into the bankruptcy in New
2 York the question of the use of that letter of credit. And
3 Judge McMahon writes:
4 "First, the collateral is not property of the debtor's
5 estate."
6 The letter of credit.
q "Neither the letter of credit that were posted as
8 collateral by EMI, hor the proceeds obtained by
g Celtics when it drew on those letters of credit are
10 property of Enron's bankruptcy estate. The letter of
11 credit and their proceeds are property of the issuing
41:2 banks, not property of the debtors, on whose behalf
13 they were issued, and are not property of the estate
14 within the meaning Af 1% 0.91. SAls The proposition
15 is too well settled to warrant extended discussion."
16 And then there's a citation, and the Court continues:
17 "Since an adversary proceeding lies anly to determine
18 the extent of a party's interest in property that Ls
19 part of the estate” -- citing the bankruptcy rules -~
20) nit would seem that this adversary proceeding must be
2] dismissed on that basis alone."
22 That's the Enron, that's the letter of credit point.
23 So to recap on jurisdiction, you don't have
94 |) jurisdiction over property of an insurance company, you don't
25 || have jurisdiction over property of a non-debtor subsidiary, and

 

 

 
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you don't have jurisdiction over a letter of credit. Three
strikes, they're out. Now turning -- and any one strike,
they're actually out.

Turning to arbitration. The principle that has been,
I think, thoroughly now adopted by the circuits throughout the
United States, as exemplified by the Continental Thorpe case
cited in our brief, is that the Bankruptcy Court is obliged to
compel arbitration, to allow arbitration, if the dispute
involves state law, non-bankruptcy law, contractual rights. On
the other hand, the Bankruptcy Court has discretion to deny
arbitration when the source of the right being adjudicated is
the Bankruptcy Code.

he Hostess case is a perfect example of that. In the
Hostess case, the issue was whether to use cash collateral.

You could never take someone's cash collateral under state law
rights. There is no state law, non-bankruptcy law right to use
cash collateral. It only comes under the Bankruptcy Code.

And moreover, as the Court -~ as the Hostess Court
pointed out, the Court was obligated to conduct a judicial
proceeding in that court to determine whether the standards for
use of cash collateral were met. And there was no way the
Court was going to -- was willing to let that issue go to
arbitration. That's a bankruptcy law issue.

In Continental, another case they talk about, the

Court, first of all, said that you must allow arbitration if it

 
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involves a state, non-bankruptcy law issue. But what -- that
was a proof of claim in the Continental Thorpe case, in the
Ninth Circuit.

And what was the actual claim of breach of contract?
Continental's contract with the debtor in that case said the
debtor shall not assist anyone to assert claims against
Continental. The debtor entered into a Chapter 11 plan under
524(g) for asbestos cases of the Bankruptcy Code. An
elaborate, extensive plan -- I happened to have been
representing the AIG Companies in that case.

And the allegation was that the plan itself was a
breach of contract; that the plan -- the negotiation of and the
entry into the plan was a breach of that contractual provision
that Thorpe would not assist plaintiffs to assert asbestos
claims against Continental. The Court said, if ever there was
an issue that this Court has to decide, it's whether a plan
itself is legal. And the Court said, we're keeping this, we're
deciding, and the Court decided the plan was legal and
dismissed the claim, and the arbitration was net allowed.
Those are -- Hostess, Continental, that's when you don't have
arbitration, when it's the Bankruptcy Code that brings about
the issue.

In Hagerstown, the kind of issues that were kept and
not arbitrated were preference-type avoidance issues; issues

that arise under the Bankruptcy Code. But if the issue is

 
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what's the rights and duties of a party under a non-bankruptcy
contract, that's the case -- those are the cases that all the
circuits, I think -- and again, I just cite you the cases in
our brief -- say belong in arbitration, and the Court should
not deny arbitration.

And lastly, concerning arbitration, the United States
Supreme Court has said, in a rather oft-cited case called Moses
Cone, that any -- and this is cited in our brief -- any doubts
concerning arbitability should be resolved in favor of
arbitration. And with that, I think I've addressed your two
questions.

THE COURT: Very good. Thank you.

Yes, Mr. Oswald.

MR. OSWALD: Thank you, Your Honor. I'll be brief,
because we do rely on our papers for the bulk of the two
questions.

Jurisdiction. We have proofs of claim filed in this
case against these debtors. One must determine the validity of
the proofs of claim, the amounts of the proofs of claim. Then
you can figure out what the classification of the proofs of
claim are.

As I said before, we don't disagree that the letter of
credit is not property of the Saint Vincents debtors. We
certainly have an interest in that -- proceeds and the

collateral that's been posted to back up these claims. That's

 
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been our interest.

Similar to the Hagerstown case with turnover, and the
Hostess case with the cash collateral, and where we started
with AIG two years ago, when our firm first got involved with
these claims, was to seek a release of that collateral for the
benefit of these debtors. That's what started these wheels in
motion.

But for these four policies, for the claims that
emanate under the Saint Vincents pre-merger entity, we assert
they were not parties to that payment agreement, and we assert
that the jurisdiction of this Court meets the substantial core
test under Judge Drain's decision in Hostess. We believe
Hagerstown is applicable, as well. And frankly, as I said
before, I think the Thorpe case from the Eighth Circuit is
applicable, vis-a-vis the claims.

Saint Vincents does not seek and has not argued here
that arbitration is not favored. We're familiar with those
cases. I, myself, have taken liberty of the judges in this
Court, in particular, in Saint Vincents multiple mediations.
That's not the issue. But as to this issue, we believe it is
quintessentially one that this Court can determine.

The arbitration that's been referenced before, as I
said, that's proceeding, that has nothing to do with these
proofs of claim before the Court. That has to do with alleged

E&O claims that the -- that the debtors believe they have.

 
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SO wrapping it together as to the specific issue here
on this motion, which started with a position letter of the
debtors -- that's why we're a little bit out of order —- we
believe the Court can and does have jurisdiction to determine
that. Once we determine what the claim is -- and again, Mr.
Davis and I agree. I don't think we're too far apart on the
numbers, But that will lend to dealing next with the overall
claims, and we can address the larger issue of the turnover.

THE COURT: I always recommend y'all talk.

Any rebuttal, Mr. Davis?

MR. DAVIS: No, Your Honor.

THE COURT: Very good. You're only $2 million apart.
You might as well talk in between time. I'm reserving
judgment. JI am also reserving the right to ask you for a
clarification in writing on anything that I see. So very good.

MR. OSWALD: That's fine, Your Honor.

THE COURT: Court is in recess.

THE COURT OFFICER: All rise:

MR. OSWALD: Thank you.

MR. DAVIS: Thank you, Your Honor.

(Participants confer.)

(Proceedings concluded at 1:58 p.m.)

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CERTIFICATION
I certify that the foregoing is a correct tramscript

from the electronic sound recording of the proceedings in the

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above-entitled matter to the best of my knowledge and ability.

Clee Lam R_

Coleen Rand, AAERT Cert. No. 341

September 23, 2013

 

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